Case 8:23-cv-00257-DOC-JDE Document 16-1 Filed 03/28/23 Page 1 of 5 Page ID #:118




                                   EXHIBIT A
Case 8:23-cv-00257-DOC-JDE Document 16-1 Filed 03/28/23 Page 2 of 5 Page ID #:119




                                   EXHIBIT B
Case 8:23-cv-00257-DOC-JDE Document 16-1 Filed 03/28/23 Page 3 of 5 Page ID #:120
Case 8:23-cv-00257-DOC-JDE Document 16-1 Filed 03/28/23 Page 4 of 5 Page ID #:121




                                   EXHIBIT C
Case 8:23-cv-00257-DOC-JDE Document 16-1 Filed 03/28/23 Page 5 of 5 Page ID #:122




                                   EXHIBIT D
